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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA
No. 21 CR 558
v.
Judge Charles R. Norgle, Sr.
MICHAEL ZMIJEWSKI

PROTECTIVE ORDER GOVERNING DISCOVERY

Upon the agreed motion of the government, pursuant to Fed. R. Crim. P. 16(d)
and 18 U.S.C. § 3771(a)(1) and (8), it is hereby ORDERED:

1. All of the materials provided by the United States in preparation for, or
in connection with, any stage of the proceedings in this case (collectively, “the
materials”) are subject to this protective order and may be used by defendant and
defendant's counsel (defined as counsel of record in this case) solely in connection
with the defense of this case, and for no other purpose, and in connection with no
other proceeding, without further order of this Court.

2. Defendant and defendant’s counsel shall not disclose the materials or
their contents directly or indirectly to any person or entity other than persons
employed to assist in the defense, persons who are interviewed as potential witnesses,
counsel for potential witnesses, and other persons to whom the Court may authorize
disclosure (collectively, “authorized persons”). Authorized persons may be shown
copies of the materials as necessary to prepare the defense, but may not retain copies

without prior permission of the Court.
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3. Certain materials disclosed or to be disclosed by the government contain
particularly sensitive information, including confidential business information
belonging to one or more entities, sensitive financial information, and personally
identifiable information. These materials shall be plainly marked as “Confidential:
Subject to Protective Order Paragraph 3.” No such materials, or the information
contained therein, may be disclosed to any persons other than defendant, counsel for
defendant, persons employed to assist the defense, an author or recipient of the
document (not including a person who received the document in the course of
litigation), or persons for whom counsel believes in good faith previously received or
had access to the document (unless the person indicates that they did not have access
to the document), without prior notice to the government and authorization from the
Court. Absent prior permission from the Court, information contained in these
sensitive documents shall not be included in any public filing with the Court, and
instead shall be submitted under seal (except in the case of a defendant who chooses
to include in a public document sensitive information relating solely and directly to
the defendant making the filing).

A. Defendant, defendant’s counsel, and authorized persons shall not copy
or reproduce the materials except in order to provide copies of the materials for use
in connection with this case by defendant, defendant’s counsel, and authorized
persons. Such copies and reproductions shall be treated in the same manner as the

original materials.
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5. Defendant, defendant’s counsel, and authorized persons shall not
disclose any notes or records of any kind that they make in relation to the contents of
the materials, other than to authorized persons, and all such notes or records are to
be treated in the same manner as the original materials.

6. Before providing materials to an authorized person, defense counsel
must provide the authorized person with a copy of this Order.

7. Upon conclusion of all stages of this case, all of the materials and all
copies made thereof shall be disposed of in one of three ways, unless otherwise
ordered by the Court. The materials may be (1) destroyed; (2) returned to the United
States; or (3) retained in defense counsel’s case file. The Court may require a
certification as to the disposition of any such materials. In the event that the
materials are retained by defense counsel, the restrictions of this Order continue in
effect for as long as the materials are so maintained, and the materials may not be
disseminated or used in connection with any other matter without further order of
the Court.

8. To the extent any material is produced by the United States to
defendant or defendant’s counsel by mistake, the United States shall have the right
to request the return of the material and shall do so in writing. Within five business
days of the receipt of such a request, defendant and/or defendant’s counsel shall

return all such material if in hard copy, and in the case of electronic materials, shall
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certify in writing that all copies of the specified material have been deleted from any
location in which the material was stored.

9. The restrictions set forth in this Order do not apply to documents that
are or become part of the public court record, including documents that have been
received in evidence at other trials, nor do the restrictions in this Order limit defense
counsel in the use of discovery materials in judicial proceedings in this case, except
that any document filed by any party which attaches or otherwise discloses specially
identified sensitive information as described in Paragraph 3, above, shall be filed
under seal to the extent necessary to protect such information, absent prior
permission from this Court.

10. Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

ENTER: Yh Hes Me

Charles R. Norgle, Sr.
District Judge

United States District Court
Northern District of Illinois

Date: 9/ Z / £02 |
